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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


State of Colorado, et al.,

                             Plaintiffs,   Case No. 1:20-cv-03715-APM

v.                                         HON. AMIT P. MEHTA
Google LLC,

                             Defendant.




EXHIBITS TO DEFENDANT GOOGLE LLC’S STATEMENT OF MATERIAL FACTS
         IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT
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                                   LIST OF EXHIBITS

Exhibit No.                                  Description of Exhibit

    1         Document Titled “How Search Works” - GOOG-DOJ-09300673

    2         Document Titled “Future of Search” - GOOG-DOJ-03209307

              About Text Ads, https://support.google.com/google-ads/answer/1704389?hl=en (last
    3
              accessed Dec. 10, 2022)

    4         Declaration of Google Employee Elizabeth Reid (Dec. 9, 2022)

              Excerpts of Transcript of Deposition of Google Employee Richard Holden (Sept. 30,
    5
              2021)

    6         Declaration of Google Employee Richard Holden (Dec. 9, 2022)

    7         Google’s Response to Colorado Plaintiffs’ Third Set of Interrogatories (Apr. 18, 2022)

              Google’s Second Supplemental Response to Colorado Plaintiffs’ Third Set of
    8
              Interrogatories (June 1, 2022), Interrogatory Nos. 8, 10

              Excerpts of Opening Expert Report of Professor Wilfred Amaldoss on Behalf of the
    9
              State of Colorado et al. (June 6, 2022)

              How results are automatically generated,
    10        https://www.google.com/search/howsearchworks/how-search-works/ranking-results/
              (last accessed Dec. 12, 2022)

              Excerpts from Transcript of Deposition of Google Employee Nick Fox (Oct. 5-6,
    11
              2021)

              Excerpts from Transcript of Deposition of Google Employee Prabhakar Raghavan
    12
              (Dec. 14-15, 2021)

              Excerpts of Transcript of Deposition of Google Employee Elizabeth Reid (Jan. 11,
    13
              2022)

              Excerpts of Transcript of Deposition of Google Employee Jennifer Fitzpatrick (Dec. 2,
    14
              2021)

              Excerpts of Transcript of Deposition of Google Employee Emily Moxley (Jan. 27-28,
    15
              2022)

    16        Declaration of Google Employee Emily Moxley (Dec. 9, 2022)

    17        Excerpts of Transcript of Deposition of Google Employee Ben Gomes (Dec. 10, 2021)




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       Excerpts of Transcript of Deposition of Google Employee Kim Spalding (Nov. 16,
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       Document Titled “An Overview of Metrics for SRP Launches” - GOOG-DOJ-
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       Excerpts of Transcript of Deposition of Google Employee Pandu Nayak (Oct. 28,
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       Improving Search with rigorous testing,
21     https://www.google.com/search/howsearchworks/how-search-works/rigorous-testing/
       (last accessed Dec. 10, 2022)

22     Document Titled Side-by-Side Guidelines (Nov. 2019) - GOOG-DOJ-17681606

       Document Titled “New Local Onebox Eval Report” (Feb. 21, 2007) - GOOG-DOJ-
23
       00515037

24     Document Titled “Travel Strategy Update” (June 16, 2009) - GOOG-DOJ-16094322

25     Document Titled “Google Travel Strategy 2020” - GOOG-DOJ-25917044

26     Document Titled “Travel Products overview + plan” - GOOG-DOJ-04353653

27     Document Titled “Hotel Price in LU” (Mar. 23, 2011) - GOOG-DOJ-00298158

       Email re “[Ads-quality-leads] [aq-launches] Approval to launch hotels commercial
28
       unit on mobile devices” (Nov. 6, 2013) - GOOG-DOJ-24656522

       Document Titled “Rich List Desktop Launch Review” (Oct. 10, 2014) - GOOG-DOJ-
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       30117105

       Documented Titled “Hotels on Search and Maps” (Mar. 17, 2015) - GOOG-DOJ-
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       27641523

       Email re “[Notes and AIs] Travel Product Review, Jan 12, 2017” (Jan. 13, 2017) -
31
       GOOG-DOJ-04471923

32     Document Titled “Travel Product Review”- GOOG-DOJ-20745877

33     Document Titled “HUBL Design Research” (June 2020) - GOOG-DOJ-20739516

       Document Titled “Launching HUBL (Hotels Free Booking Links)” (Feb. 5, 2021) -
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       GOOG-DOJ-22645229

35     Document Titled “Price Ablation Experiments Analysis” - GOOG-DOJ-20745036

       Document Titled “Supplier Ablation Experiment Analysis” (Apr. 2, 2018) - GOOG-
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       DOJ-29801589



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37     Document Titled “Travel Product Review” (July 19, 2018) - GOOG-DOJ-04474464

       Document Titled “Hotels Happiness Tracking Survey (HaTS) Results” - GOOG-DOJ-
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       20742777

       Google’s Third Supplemental Response to Colorado Plaintiffs’ Nov. 1, 2021 Rule
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       30(b)(6) Notice (Jan. 21, 2022)

       Excerpts of Transcript of Deposition of Professor Wilfred Amaldoss on Behalf of the
40
       State of Colorado et al. (Nov. 7-8, 2022)

       Exhibit 6 to the Deposition of Professor Wilfred Amaldoss on Behalf of the State of
41
       Colorado et al. (Nov. 7-8, 2022)

       Exhibit 7 to the Deposition of Professor Wilfred Amaldoss on Behalf of the State of
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       Colorado et al. (Nov. 7-8, 2022)

       Email re “[Expt-results] LAUNCH REPORT: Flights View Initial Launch” (Aug. 8,
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       2011) - GOOG-DOJ-01239619

       Email re “[Webranking-leads] Re: [Expt-results] Fast Track Search Features Launch
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       Report: Flights Universal in US” (Nov. 23, 2011) - GOOG-DOJ-23875896

45     Document Titled “Flights to Amsterdam” (Nov. 29, 2018) - GOOG-DOJ-03098047

       Document Titled “Flights CU Price Graph on mobile” (2019) - GOOG-DOJ-
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       Document Titled “Ablate LU on Where-To-Buy Queries” (June 21, 2017) - GOOG-
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       DOJ-29263566

       Exhibit 3 to the Deposition of Professor Wilfred Amaldoss on Behalf of the State of
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       Colorado et al. (Nov. 7-8, 2022)

       Understand the Google Guarantee,
49     https://support.google.com/localservices/answer/7125526?hl=en&ref_topic=6250184
       (last accessed Nov. 27, 2022)

       Document Titled “Google Service Express SA Review Deck” - GOOG-DOJ-
50     06095362

       Document Titled “Paid Local Proposal in Google Home Services (May 4, 2016) -
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       GOOG-DOJ-04166187

       Email re “[Ads-quality-leads] Digest for                               - 19 updates
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       in 8 topics” (July 11, 2015), GOOG-DOJ-23326660




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       Document Titled “HSA Paid Local Comms Doc” (Aug. 5, 2016) - GOOG-DOJ-
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       Document Titled “Local Services by Google” (October 31, 2017) - GOOG-DOJ-
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       14418354

55     Excerpts of Transcript of Deposition of                    (March 28, 2022)

56     Excerpts of Transcript of Deposition of                 (March 31, 2022)

       Google’s First Supplemental Response to Colorado Plaintiffs’ Third Set of
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       Interrogatories (May 20, 2022), Interrogatory Nos. 9, 10, 14

       Excerpts of Transcript of Deposition of
58
       (April 21-22, 2022)

       Excerpts of Transcript of Deposition of                                 (March 2,
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       2022)

60     Excerpts of Transcript of Deposition of                          (March 10, 2022)

61     Excerpts of Transcript of                             (Feb. 22, 2022)

       Excerpts of Transcript of Deposition of                              (March 3,
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       2022)

       Excerpts of Transcript of Deposition of Google Employee Jerry Dischler (Dec. 7-8,
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       2021)

       Facebook Ads: Social Media Advertising for Your Business | Meta for Business,
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       https://www.facebook.com/business/ads (last accessed Dec. 5, 2022)

       Excerpts of Transcript of Deposition of                                     (Apr. 8,
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       Excerpts of Transcript of Deposition of                                  (Mar. 30,
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       Excerpts of Transcript of Deposition of Interpublic Employee Joshua Lowcock (Apr.
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       20, 2022)

       Excerpts of Transcript of Deposition of Home Depot Employee Ryan Booth (Apr. 26,
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       2022)

69     Excerpts of Transcript of Deposition of Marin Employee Chris Lien (Apr. 27, 2022)

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       Excerpts of Transcript of Deposition of Dentsu Employee Brendan Alberts (May 10-
71
       11, 2022)

       Excerpts of Transcript of Deposition of Google Employee and Former Microsoft
72
       Employee Eduardo Indacochea (May 2, 2022)

73     Excerpts of Transcript of Deposition of Skai Employee Paul Vallez (Apr. 20, 2022)

       Media Partners, https://skai.io/gtm-partners/ (last accessed Apr. 16, 2022) Marked as
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       Exhibit 5 to the Deposition of Paul Vallez (Skai)

75     Paid Search, https://skai.io/search/ (last accessed Dec. 5, 2022)

       MarinOne Paid Search, https://www.marinsoftware.com/solutions/paid-search (last
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       accessed Dec. 8, 2022)

77     Declaration of Adobe Employee Greg Collison (Apr. 20, 2022)

       Adobe Advertising Cloud Features,
78     https://business.adobe.com/products/advertising/adobe-advertising-cloud-
       features.html (last accessed Dec. 8, 2022)

       Search Ads 360 Help, Supported Engines,
79     https://support.google.com/searchads/answer/6073010?hl=en (last accessed Dec. 7,
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80     Declaration of Google Employee Eduardo Indacochea (Dec. 9, 2022)

       Search Ads 360 Help, Facebook and Instagram features in Search Ads 360,
81     https://support.google.com/searchads/answer/9000911?hl=en&ref_topic=9000809
       (Dec. 4, 2020) (last accessed Dec. 7, 2022)

       Search Ads 360 Help, Twitter features in Search Ads 360,
82     https://support.google.com/searchads/answer/9000912?hl=en&ref_topic=9000809
       (Nov. 24, 2020) (last accessed Dec. 7, 2022)

       Document Titled “H2’18 Roadmap Search Ads 360” (May 13, 2019) - GOOG-DOJ-
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       Document Titled “H2’19 Roadmap Search Ads 360” (Feb. 19, 2020) - GOOG-DOJ-
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       Document Titled “H1’2020 Roadmap Search Ads 360” (Feb. 20, 2020) - GOOG-
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       Excerpts of Transcript of Deposition of Google Employee Jason Krueger (Nov. 10,
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       Document Titled “Re: Microsoft Ads + Search Ads 360 (11/13) meeting follow-up”
87
       (Nov. 26, 2019) - GOOG-DOJ-12678310

       Spreadsheet Titled                                    (August 17, 2021) - GOOG-
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       Excerpts of Transcript of Deposition of                                  (May 5-6,
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       nswer/2592341?hl=en&ref_topic=2592040 (Nov. 17, 2020) (last accessed Dec. 7,
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98     Document Titled “Myx Update” (Oct. 11, 2016) - GOOG-DOJ-27706588

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       Document Titled “Re: [FERIUM PLANNING] Draft H1 2020 SA360 Roadmap
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       Introducing the new Search Ads 360,
102    https://blog.google/products/marketingplatform/360/introducing-new-search-ads-360/
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       Let Microsoft Advertising manage your bids with bid strategies,
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       https://help.ads.microsoft.com/apex/index/3/en/56786 (last accessed Dec. 5, 2022)

       Document Titled “Amalgam 1P: Byx” (Feb. 2, 2021) - GOOG-DOJ-24813895,
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       Marked as Exhibit 7 to the Deposition of Jason Krueger

106    Document Titled “SA360 2020H2” (May 8, 2020) - GOOG-DOJ-24870734

       Document Titled “Fwd: Bing ATB - Performance” (Dec. 3, 2020) - GOOG-DOJ-
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       Document Titled “[Launched] Other engines feature set in Amalgam!” (Nov. 12,
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       Excerpts of Expert Reply Report of Professor Wilfred Amaldoss on Behalf of Plaintiff
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       States (Jun. 6, 2022)

       Excerpts of Opening Expert Report of Professor Jonathan B. Baker on Behalf of
111
       Plaintiff States (Jun. 6, 2022)

       Excerpts of Rebuttal Expert Report of Professor Jonathan B. Baker on Behalf of
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       Plaintiff States (Aug. 5, 2022)

       Excerpts of Reply Expert Report of Professor Jonathan B. Baker on Behalf of Plaintiff
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       Excerpts of Transcript of Deposition of Professor Jonathan B. Baker on Behalf of
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       Plaintiff States (Nov. 21-22, 2022)

       Colorado Plaintiffs’ 4th Supp. Responses To Google’s 1st Interrogatories (June 17,
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       Document Titled “Local Services by Google Product Overview” (2019) - GOOG-
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Dated: December 12, 2022            Respectfully submitted,

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